          Case 1:22-md-03029-PBS Document 53 Filed 10/14/22 Page 1 of 15




                               UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF MASSACHUSETTS


    IN RE: COVIDIEN HERNIA MESH
    PRODUCTS LIABILITY LITIGATION
    NO. II,

    This Document Relates To:                               MDL No. 1:22-md-03029-PBS

                  All Cases


     PLAINTIFFS’ SUBMISSION ON OUTSTANDING CASE MANAGEMENT ISSUES

         After an extensive conferral process on three case management orders, narrow issues

remain in dispute for which the parties need the Court’s guidance. The orders at issue are (1) a

Proposed Scheduling Order1 [ECF No. 48-1]; (2) Proposed Order Governing the Production of

Hard Copy Documents and Electronically Stored Information (“ESI”) [ECF No. 48-2]; and (3)

Proposed Confidentiality and Protective Order [ECF No. 48-3].

         Plaintiffs’ positions on the remaining issues are set forth below. In support of their

positions, Plaintiffs show the Court the following:

I.       THIS COURT SHOULD ADOPT PLAINTIFFS’ PROPOSED SCHEDULING
         ORDER.

         As of September 30, 2022, three issues remained in dispute on the scheduling order. See

ECF No 48-1. In the spirit of compromise, Plaintiffs agreed to everything but the deadline for

completion of general corporate discovery, which is the one issue that now remains in dispute. Id.

at 2 (Sec. II). Specifically, Defendants propose September 30, 2023 and Plaintiffs propose April

8, 2024 as the deadline for completion of corporate discovery for the initial bellwether cases.

Defendants did not share Plaintiffs’ compromising spirit but rather, in exchange for adopting



1
 As discussed further below, Defendants have made one date on the scheduling order contingent on coordination
between the MDL and the state court—a much larger and significant issue than a single date on a scheduling order.

                                                        1
        Case 1:22-md-03029-PBS Document 53 Filed 10/14/22 Page 2 of 15




Plaintiffs’ reasonable date, Defendants proposed a draconian coordination procedure with the state

court proceeding that would prejudice all plaintiffs in this MDL. When Plaintiffs declined to

accept Defendants’ “offer,” Defendants indicated that today’s submission would include the

concept of coordination. But that is not what is at issue in this submission. To be sure, the only

question the Court needs to answer for the scheduling order CMO is whether Plaintiffs get less

than a year to work-up a major MDL case for trial or, the more reasonable time frame of 18 months

that Plaintiffs propose. This Court should allow the Plaintiffs 18 months to conduct discovery.

       A. The Court Should Adopt Plaintiffs’ April 2024 Date in Section II.

       This matter was consolidated in June of 2022 and Defendants have yet to produce a single

document. Plaintiffs anticipate that Defendants will eventually produce hundreds of thousands of

documents amounting to millions of pages. Document review of this magnitude takes a significant

amount of time.

       Further, there are over twenty products at issue in this MDL, which were cleared at

different times with different employees responsible for the design, manufacture, marketing, and

regulatory submissions. The sheer number of likely witnesses alone justifies Plaintiffs’ modest

request of 18 months to conduct discovery. Of course, Plaintiffs will not know who the significant

players are for each product until they have had an opportunity to begin reviewing the documents

(documents that, again, have not even been produced).

       Defendants’ proposal gives Plaintiffs less than a year to review millions of pages of

documents, notice dozens of corporate depositions, and then get those depositions scheduled. This

is simply not workable and will prejudice the plaintiffs in this MDL. This is a major MDL with

thousands of cases anticipated. The stakes are simply too high to force Plaintiffs to finish

discovery for the first trials in less than a year. Therefore, due to the high likelihood of prejudice



                                                  2
          Case 1:22-md-03029-PBS Document 53 Filed 10/14/22 Page 3 of 15




to the Plaintiffs if not given enough time, this Court should adopt Plaintiffs’ proposal of April

2024.

         B. Forced Coordination with the State Court Proceeding Should Not Be Ordered.

         At the last minute, Defendants made this submission about coordination with the

Massachusetts Superior Court case in Middlesex County (the “MA State Court” Proceeding).

Plaintiffs argue that there should not be any forced coordination with the MA State Court Plaintiffs

as they have a different focus that is already split between the multifilament products and the non-

multifilament products,2 each of which already requires separate time for questioning a corporate

witness by different attorneys. Put simply, MA State Court is on a different timeline, and has a

different approach to the litigation of these cases.

         The Plaintiffs’ leadership in this MDL sees these cases differently than the MA State Court

Plaintiffs’ leadership, and intends to prosecute the bellwether cases, and this MDL, differently than

Plaintiffs’ leadership in the MA State Court. While coordination between similar litigations

occurring in different jurisdictions could be useful, that is not the case here given the different

legal theories and distinct approaches to these cases between the Plaintiffs’ leadership in the MA

State Court and this MDL. The Court in the Bard Hernia Mesh MDL in Ohio recently agreed

stating that “[t]he Plaintiffs’ Steering Committee (‘PSC’) has consistently represented that their

approach to this litigation is significantly different than that of the Rhode Island Plaintiffs in the

state court MDL. The Court believes that the PSC is entitled to conduct discovery consistent with

its own legal theories of the case and its own view of the fact.” See In re: Davol, Inc./C.R. Bard,



2
  A separate leadership structure was created in the MA State Court to advance the interests of the non-multifilament
plaintiffs in respect to general liability discovery, expert development, and motion practice, as the Multifilament
Plaintiffs’ Leadership in MA State Court made it clear that they would not work up those cases as they believe there
is a conflict of interest in representing both multifilament cases and non-multifilament cases. Multifilament Pls.’ Br.
in Supp. Of Multifilament Pls.’ Mot. For Docket Control Order at pp. 2, 8-10; Non-Multifilament Pls.’ Reply in Supp.
Of Non-Multifilament Pls.’ Mot. for Docket Control Order at pp. 2-3.

                                                          3
         Case 1:22-md-03029-PBS Document 53 Filed 10/14/22 Page 4 of 15




Inc., Polypropylene Hernia Mesh Products Liability Litigation, MDL 2846, Doc. No. 156, Order

at pp. 2. Plaintiffs respectfully ask this Court to take the same approach the Court did in MDL

2846.

        Additionally, due to the status of the Plaintiffs’ leadership in the MA State Court and the

way they are already proceeding with these depositions on two different tracks separating the

products out, there is no way that Plaintiffs’ leadership in this MDL could also take the witness’s

deposition on the same date. As such, the most that would be accomplished through these cross-

noticed depositions is that these witnesses would be deposed on two consecutive days, as opposed

to potentially two days that are non-consecutive. Given the Plaintiffs’ leadership’s distinct

approach to these cases in this MDL as well as the structure and position of the MA State Court’s

leadership, there would be little efficiency gained by allowing Defendants to cross-notice the

depositions of their corporate witnesses in the MA State Court Proceeding.

        If this Court is inclined to agree or even entertain the idea of allowing Defendants to cross-

notice the depositions of their corporate witnesses in the MA State Court, Plaintiffs request that

the Court allow the parties to provide briefing on these issues as Plaintiffs’ leadership will need

time to figure out the procedure, timing, and other issues involved in coordinating these

depositions in these two separate litigations that will include at least three separate attorneys

questioning each witness.

        For purposes of the CMOs at issue in this submission, the Court does not need to decide

coordination issues now. Indeed, independent of any coordination between the MDL and the state

court, the MDL Plaintiffs need 18 months to conduct discovery necessary to prosecute these cases.

Anything short would prejudice Plaintiffs significantly.




                                                  4
        Case 1:22-md-03029-PBS Document 53 Filed 10/14/22 Page 5 of 15




II.    THIS COURT SHOULD ADOPT PLAINTIFFS’ POSITIONS ON THE
       DISAGREED PORTIONS OF THE PROPOSED ELECTRONICALLY STORED
       INFORMATION (“ESI”) CASE MANAGEMENT ORDER.

       The parties have three discrete areas of disagreement contained within the draft proposed

Case Management Order (“CMO) regarding ESI. Because the Plaintiffs’ position more closely

tracks the manner in which the Federal Rules of Civil Procedure require ESI production to be

handled, this Court should adopt Plaintiffs’ positions on each of the three areas.

       A.      The Federal Rules of Civil Procedure require producing parties to
               continuously supplement prior productions.

       It is important to recognize that while, the MDL Plaintiffs have worked very hard to achieve

the Defendants’ of maximizing the efficiencies which can be achieved from their prior discovery

in the Massachusetts state court action, the MDL Plaintiffs cannot agree to curtail the discovery

they are entitled to under the Federal Rules of Civil Procedure. Leadership in the MDL was not

involved and took no part in the master discovery in the Massachusetts state court action and the

Federal Rules do not contemplate the Federal litigants as having to agree to accepting as

“complete” what state court discovery has been done for certain custodians. As this Court has

heard previously, the Massachusetts state court plaintiffs have chosen a different focus of

discovery than will the MDL Plaintiffs and, while there is efficiency to be had with the production

of the prior state court discovery in this MDL, the production of that prior state court discovery

does not obviate the obligations the producing party has under the Federal Rules.

       The chief area of disagreement with regard to paragraph I(I) of the proposed ESI CMO is

about the need to supplement and validate the state court production if Defendants desire to

produce it in this MDL. Federal Rule of Civil Procedure 26(e) would require these Defendants to

supplement that prior discovery if it previously had been produced in this MDL. Defendants now




                                                 5
        Case 1:22-md-03029-PBS Document 53 Filed 10/14/22 Page 6 of 15




wish to adopt a prior state court production but, having chosen to do that, Defendants cannot claim

that their Rule 26(e) obligation to supplement and validate the prior production no longer pertains.

       The MDL Plaintiffs certainly agree that Defendants’ production of the prior production

will streamline the initial production in this litigation but cannot agree to strike through

Defendant’s duty to supplement that discovery. Accordingly, paragraph I(I) of the ESI CMO

should contain the following provision proposed by Plaintiffs: “Further, the producing party will

update the custodial files and/or databases so that the prior production is updated and current to

the present time.” The ESI CMO also not include the following provision proposed by Defendants:

“a party is not obligated to re-validate that production set and is not obligated to re-collect the

Documents that formed the basis for that production.”

       B.      Defendants should produce all responsive email threads as they are kept in
               the ordinary course of business.

       In paragraph III(H) of the proposed ESI CMO, Defendants seek to curtail their discovery

obligations relating to the production of emails in a manner which would produce only the latest

email in a “thread email” so long as it contained all the attachments. In this manner, Defendants

would be voiding the language of Federal Rule of Civil Procedure 34(b)(2)(E)(i) which requires:

“a party must produce documents as they are kept in the usual course of business or must organize

and label them to correspond to the categories in the request.”

       Defendants do not contest that they have the “lesser included emails” in their possession

but do not want to produce them except as part of a single ESI document email thread. The

challenge with that manner of production is that prior emails within a thread each contain their

own meta-data which can be lost when threaded.

       See, e.g., In re Actos Anti-Trust Litig., 340 F.R.D. 549, 552 (S.D.N.Y. March 30, 2022).

In the Actos Anti-Trust case, the Magistrate Judge ruled that, because the parties had not stipulated

                                                 6
        Case 1:22-md-03029-PBS Document 53 Filed 10/14/22 Page 7 of 15




to receiving only the most current most-inclusive email in a thread, the producing party was short-

changing the receiving party of some critical ESI:

       Takeda’s exclusion of lesser included emails from production has resulted in the
       exclusion of the metadata associated with earlier emails in a chain (which may be
       weeks or even months prior to the last email in a chain)…This exclusion materially
       has reduced Plaintiffs’ ability to search for all correspondence within a date range.
       In addition, in certain email chains, only the sender of particular emails earlier in a
       chain are reflected, and not the recipients of such emails…Finally, Takeda’s email
       threading has removed Plaintiffs’ ability to see if anyone was blind-copied on lesser
       included emails, even though this information was among the metadata the parties
       agreed in the Discovery Protocol to produce.

Id.

       Because Plaintiffs have not agreed, and do not agree, to limit email productions as proposed

by Defendants, Defendants would be at an unfair advantage in terms of the electronically stored

information because Defendants would have access to meta-data and information that, through the

email thread approach would be foreclosed to Plaintiffs. In the several conversations which

Plaintiffs’ counsel had with Defendants’ counsel about this provision, Defendants never identified

the “undue burden” which could be obviated through the email-thread approach.

       As such, this Court should rule in the ESI CMO that Defendants stick to the Rule 34

requirement that documents, including ESI, be produced as they are kept in the ordinary course of

business and therefore not include within the CMO the current paragraph III(H) proposed by

Defendants.

       C.      Defendants should produce an appropriate privilege log within thirty days of
               the withheld production.

       In paragraph V(A) of the proposed ESI CMO, the disputed language concerns when a

producing party is required to produce a privilege log. Plaintiffs propose “monthly” while

Defendants propose the term “on a continuing basis”. The problem with the term “on a continuing

basis” with regard to the privilege log obligation is that it leaves too much to be defined and does

                                                 7
        Case 1:22-md-03029-PBS Document 53 Filed 10/14/22 Page 8 of 15




not set a specific timeline for when the producing party is required to produce the privilege log.

Fortunately for the parties and the Court, there is a readily ascertainable answer as to when a party

is required to produce a privilege log detailing the document withheld from production.

       Federal Rule of Civil Procedure 26(b)(5) requires parties to produce the information

(contained within what is now colloquially called a “privilege log”) when the document is withheld

and requires the party to “describe the nature of the documents, communications, or tangible things

not produced or disclosed—and do so in a manner that, without revealing information itself

privileged or protected, will enable other parties to assess the claim”. Failure to produce timely

the privilege log can be viewed by this Court as a waiver of the privilege. Fed.R.Civ.P. 26(b)(5)

advisory committee’s notes (1993 amendments). The time to assert the privilege and provide the

required privilege log information through Rule 26(b)(5) is typically seen as falling at the same

time as the obligation to respond to request for production of documents, i.e., 30 days. Burlington

Northern & Santa Fe Ry. Co. v. U.S. District Court for District of Montana, 408 F.3d 1142, 1149

(9th Cir. 2005) (citing Federal Rule of Civil Procedure 34).

       Recognizing that there will be a rolling production, in the proposed ESI CMO, Plaintiffs

have proposed privileged logs be produced on a monthly basis so that asserted privileges and the

required privilege log is produced at the time of the production from which the allegedly privileged

document was withheld from production. Defendants’ proposal simply that it be on a “continuing

basis” does not adequately define the timeframe during which the Rule 26(b)(5) privilege log

information must be provided. This Court should clearly define the producing party’s obligation

to assert the privilege and provide the information required by Rule 26(b)(5). Adopting the

Plaintiffs’ proposed language about the production of privilege logs on a monthly basis serves that

end.



                                                 8
            Case 1:22-md-03029-PBS Document 53 Filed 10/14/22 Page 9 of 15




    III.      THIS COURT SHOULD ADOPT PLAINTIFFS’ POSITION ON THE
              DISAGREED PORTION OF THE PROPOSED CONFIDENTIALITY AND
              PROTECTIVE ORDER.

           The area that remains in dispute on the proposed protective order can be boiled down to

the following question: Should Plaintiffs be forbidden from using a document with certain

witnesses simply because Defendants chose to mark it “HIGHLY CONFIDENTIAL”? The

answer must be “No.” Otherwise, Plaintiffs will be irreparably harmed.

           If Defendants’ position prevails, it will have the obvious and tangential impact of directly

interfering with Plaintiffs’ ability to show corporate documents relating to the safety and risks of

hernia mesh devices to the very witnesses that Defendants likely will claim were already aware of

the risks at issue.

            Where the disputed language is most likely to have a critical impact on plaintiffs’ ability

 to prosecute these cases is during the deposition of an implanting and/or explanting physician

 for a potential bellwether case—specifically, the surgeon who recommended and implanted the

 hernia mesh in a given plaintiff or, the surgeon who removed it. Defendants will undoubtedly

 assert a Learned Intermediary defense in these actions, arguing that implanting surgeons were

 adequately warned of the safety and risks inherent in hernia mesh devices or alternatively, there

 was no need to warn because the medical community was already aware of such risks. This

 Learned Intermediary defense is typically a cornerstone of manufacturers’ defense in

 pharmaceutical and medical device failure to warn cases. See, e.g., Payne v. Novartis

 Pharmaceutical Corp., 767 F.3d 526, 530–33 (6th Cir. 2014).

            Because of the Learned Intermediary defense, during depositions of implanting

 physicians, it is necessary for Plaintiffs to explore what risks the surgeon knew prior to

 implanting the device; what risks were disclosed to plaintiffs; and whether the addition of


                                                     9
       Case 1:22-md-03029-PBS Document 53 Filed 10/14/22 Page 10 of 15




additional safety information would have impacted the physician’s decision to recommend the

device and/or affected physician’s risk/benefit discussion with the patient. This may require

showing such a witness internal documents where company employees discussed or analyzed

the safety of the product at a deposition, to determine whether knowledge of such information

would have impacted the doctor’s decision and/or discussion with the patient/plaintiff. These

implanting doctors are often asked the follow-up question by plaintiffs’ counsel “if you were

aware of this information would you have imparted that to your patient.” Without the ability to

confront a physician with such a document (because it has been marked “Highly Confidential”)

would severely prejudice Plaintiffs’ right to challenge this critical defense.

      A. Standard of Review

       Pursuant to Rule 26 of the Federal Rules of Civil Procedure, “[t]he court may, for good

cause, issue an order to protect a party or person from annoyance, embarrassment, oppression,

or undue burden or expense” FED. R. CIV. P. 26(c). ‘“The burden of establishing good cause for

a protective order rests with the movant.”’ Snelling v. ATC Healthcare Servs., No. 2:11-CV-

00983, 2013 U.S. Dist. LEXIS 49105, at *5–6 (S.D. Ohio Apr. 4, 2013) (Sargus, J.) (quoting

Nix v. Sword, 11 F. App’x 498. 500 (6th Cir. 2001)). “To show good cause, the [moving party]

must articulate specific facts showing clearly defined and serious injury resulting from the

discovery sought and cannot rely on mere conclusory statements.” United States ex rel.

Daugherty v. Bostwick Labs., No. 1:08-cv-354, 2013 U.S. Dist. LEXIS 89683, at *39 (S.D. Ohio

June 24, 2013) (internal quotations omitted).

       The entry of a protective order rests with the sound discretion of the Court. Procter &

Gamble Co. v. Bankers Trust Co., 78 F.3d 219, 227 (6th Cir. 1996). Nevertheless, the Court’s

discretion to issue protective orders is “limited by the careful dictates of [Rule] 26 and ‘is


                                                10
        Case 1:22-md-03029-PBS Document 53 Filed 10/14/22 Page 11 of 15




 circumscribed by a long-established legal tradition’ which values public access to court

 proceedings.” Id. (citing Brown & Williamson Tobacco Corp. v. Fed. Trad Comm’n., 710 F.2d

 1165, 1177 (6th Cir. 1983)).

        B. Plaintiffs will Suffer Significant Prejudice if an Implanting Physician Cannot Be
           Shown Confidential Information.

         The Court should weigh the minimal risk of disclosure against the potential prejudice to

 Plaintiffs if they are unable to show a witness relevant documents during a deposition. As

 described below, this prejudice will be significant.

                 1. Plaintiffs’ Failure to Warn Claims and Defendants’ Learned
                    Intermediary Defense

        As the Court is aware, in this litigation, Plaintiffs are asserting, in part, that Defendants

failed to adequately warn doctors of known risks inherent to hernia mesh implants. By contrast,

Defendants assert a learned intermediary defense, contending that implanting physicians knew of

all the risks relating to hernia mesh implantation. It is critical, therefore, that Plaintiffs be able to

determine:

    What risks the implanting surgeon was aware of at the time the hernia mesh was implanted in
     plaintiff;

    what risks were discussed with the plaintiff when making the decision to implant hernia
     mesh; and

    where additional safety information was known to Defendants but not disclosed to doctors,
     whether knowledge of these risks would have impacted the prescribing decision and/or the
     doctor’s discussion of safety risks with the plaintiff.

         Such a determination will likely require Plaintiffs to show an implanting surgeon safety

 information that was known internally to Defendants’ employees. For example, if Covidien’s

 scientists internally acknowledge in an email the risk of chronic pain for patients implanted with

 hernia mesh but this injury is not included in the product labeling, then whether such information


                                                   11
       Case 1:22-md-03029-PBS Document 53 Filed 10/14/22 Page 12 of 15




would have impacted the implanting surgeon’s decision to use Covidien hernia mesh and/or that

doctor’s discussion about the risks and benefits of such treatment with the plaintiff is highly

relevant to Plaintiffs’ claims and Defendants’ defenses. The inability to show such a document

to a doctor would have a highly prejudicial impact on plaintiff’s case.

       Under the Plaintiffs’ proposed Protective Order language, Plaintiffs would be able to

show such an email to an implanting surgeon at a deposition. However, under Defendants’

proposed Protective Order, Plaintiffs would be unable to show a witness such information.

Such an outcome would greatly inhibit both parties’ ability to test the claims and defenses in this

case. Additionally, it would impede both parties’ ability to determine what the witnesses actually

knew and the impact of additional information on their decision-making. The risk of such

prejudice is too great and the consequences too significant to adopt Defendants’ proposal. This

is particularly true where the risk of improper disclosure is so minimal.

               1. Use of Deposition Testimony at Trial

       Additionally, implanting physicians—who are usually located in the claimant’s state of

residence—are typically not available to testify in person at trial. Therefore, it will be necessary

to play their videotaped deposition or read the transcript into the record. Defendants’ proposed

Protective Order would create an unfair disadvantage to plaintiffs because they might be

prohibited from using certain documents at deposition—a deposition that would ultimately be

played at trial—merely because it is designated “HIGHLY CONFIDENTIAL” (even where the

witness signs an Acknowledgement or verbally agrees on the record to keep such information

confidential). By contrast, if an implanting surgeon were testifying live at trial, there would be

no prohibition on showing them these documents. Such a disparity cannot be permitted. The

evidence that a plaintiff is able to introduce at trial should not be dictated by Defendants’


                                                12
         Case 1:22-md-03029-PBS Document 53 Filed 10/14/22 Page 13 of 15




designation of confidentiality, particularly where there is so little risk of disclosure and where

the witness agrees to keep such information confidential. Accordingly, Defendants’ proposed

Protective Order should be rejected by this Court.

   IV.      CONCLUSION

         For the foregoing reasons, Plaintiffs’ respectfully request the Court adopt their proposals

   on the Case Management Orders at issue in this submission.


Dated: September 30, 2022                              Respectfully submitted,


                                                        /s/ Kelsey L. Stokes
                                                        Kelsey L. Stokes
                                                        Plaintiffs’ Interim Co-Lead Counsel
                                                        Texas Bar No. 24083912
                                                        FLEMING, NOLEN & JEZ, L.L.P.
                                                        2800 Post Oak Blvd., Suite 4000
                                                        Houston, TX 77056-6109
                                                        Tel: (713) 621-7944
                                                        Fax: (713) 621-9638
                                                        kelsey_stokes@fleming-law.com

                                                        Timothy M. O’Brien
                                                        Plaintiffs’ Interim Co-Lead Counsel
                                                        Florida Bar No. 055565
                                                        LEVIN, PAPANTONIO, RAFFERTY,
                                                        PROCTOR, BUCHANAN, O’BRIEN,
                                                        BARR & MOUGEY, P.A.
                                                        316 South Baylen St., Ste. 600
                                                        Pensacola, FL 32502
                                                        Tel: (850) 435-7084
                                                        Fax: (850) 436-6084
                                                        tobrien@levinlaw.com




                                                 13
Case 1:22-md-03029-PBS Document 53 Filed 10/14/22 Page 14 of 15




                                   Walter Kelley, Esq.
                                   Plaintiffs’ Liaison Counsel
                                   BBO# 670525
                                   4 Court Street
                                   Plymouth, MA 02360
                                   Tel: (617) 420-1111
                                   Fax: (617) 830-0712
                                   wkelley@realjustice.com

                                   Attorneys for Plaintiffs




                              14
        Case 1:22-md-03029-PBS Document 53 Filed 10/14/22 Page 15 of 15




                                   CERTIFICATE OF SERVICE

        I hereby certify that on this 14th day of October 2022, I electronically filed the foregoing

with the Clerk of the Court by using the CM/ECF system, which will send a notice of this electronic

filing to all counsel of record.

                                                           /s/ Kelsey Stokes
                                                           Plaintiffs’ Interim Co-Lead Counsel




                                                15
